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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF KENTUCKY
                                     CRIMINAL MINUTES-SENTENCING

  LEXINGTON        Case No.   5:06-cr-71-1-JMH        At   LEXINGTON           Date      4/23/07

U.S.A. vs JAMES CLIFTON BARNETT         X present     X custody         bond      OR      AGE

DOCKET ENTRY:

        Defendant appeared with counsel.      Proceedings held as noted.
        This the 23 rd day of April, 2007.

PRESENT:
HON. JOSEPH M. HOOD, CHIEF JUDGE




Finocchiaro            Banta
Deputy Clerk           Court Reporter

Robert M. Duncan, Jr., & Hydee R. Hawkins
Assistant U.S. Attorney


Patrick F. Nash                                     X present          retained        X appointed
Counsel for defendant




PROCEEDINGS:           SENTENCING


 X Objections to Presentence Report.

   No objections to Presentence Report.

   The Court Reporter shall transcribe the proceedings of the hearing on the
      objections to the Presentence Report and file it in the record.

   Transcript shall be deemed as written findings of the Court.

 X Judgment shall be entered.       (See Judgment & Commitment.)

   Defendant to remain on conditions of release.

 X Defendant remanded to custody.




TIC:     25 min.                                                  Initials of Deputy Clerk           mbf
